                                                        IT IS ORDERED

                                                        Date Entered on Docket: November 22, 2022




                                                        ________________________________
                                                        The Honorable David T. Thuma
                                                        United States Bankruptcy Judge
______________________________________________________________________

                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW MEXICO

     IN RE:

            Paul Ralph Lucero aka Paul R. Lucero,

                    Debtor.                              Case No. 19-12308-ta7


                  DEFAULT ORDER GRANTING RELIEF FROM STAY AND
                       ABANDONMENT OF PROPERTY LOCATED AT
                    10540 Borrego Creek Drive NW, Albuquerque, NM 87114

            This matter came before the Court on the Motion for Relief from Stay and

     Abandonment of Property filed on 10/13/2022, Docket No. 92 (the “Motion”), by

     BCMB1 Trust (“Movant”). The Court, having reviewed the record and the Motion, and

     being otherwise sufficiently informed, FINDS:

            (a)     On 10/13/2022, Movant served the Motion and notice of the Motion (the

     “Notice”) on counsel of record for Debtor, Paul Ralph Lucero, and the case trustee at that

     time, Tiffany M. Cornejo, (the “Trustee”) by use of the Court’s case management and

     electronic filing system for the transmission of notices, as authorized by Fed.R.Civ.P.



                                                                              File No. NM-22-171475
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  5(b)(3) and NM LBR 9036-1, and on the Debtor and US Trustee by United States first

  class mail, in accordance with Bankruptcy Rules 7004 and 9014;

         (b)     The Motion relates to the following property legally described as:

         LOT NUMBERED SIXTY-SEVEN (67) OF PLAT OF VENTANA RIDGE AT

         VENTANA RANCH WEST, ALBUQUERQUE, NEW MEXICO, AS THE

         SAME IS SHOWN AND DESIGNATED ON THE PLAT THEREOF, FILED IN

         THE OFFICE OF THE COUNTY CLERK OF BERNALILLO COUNTY, NEW

         MEXICO ON JANUARY 27, 2005, IN PLAT BOOK 2005C, PAGE 35

                 and commonly known as: 10540 Borrego Creek Drive NW, Albuquerque,
                 NM 87114;

         (c)     The Notice specified an objection deadline of 21 days from the date of

  service of the Notice, to which three days was added under Bankruptcy Rule 9006(f);

         (d)     The Notice was sufficient in form and content;

         (e)     The objection deadline expired on November 6, 2022;

         (f)     As of 11/15/2022, no objections to the Motion have been filed;

         (g)     The Motion is well taken and should be granted as provided herein; and

         (h)     By submitting this Order to the Court for entry, the undersigned counsel

  for Movant certifies under penalty of perjury that on November 15, 2022, McCarthy &

  Holthus, LLP searched the data banks of the Department of Defense Manpower Data

  Center (“DMDC”) and found that the DMDC does not possess any information indicating

  that the Debtor is currently on active military duty of the United States.

         IT IS THEREFORE ORDERED:




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            1.    Pursuant to 11 U.S.C. §362(d), Movant and any and all holders of liens

  against the Property, of any lien priority, are hereby granted relief from the automatic

  stay:

            (a)   To enforce their rights in the Property, including foreclosure of liens and a

  foreclosure sale, under the terms of any prepetition notes, mortgages, security

  agreements, and/or other agreements to which Debtor is a party, to the extent permitted

  by applicable non-bankruptcy law, such as by commencing or proceeding with

  appropriate action against the Debtor or the Property, or both, in any court of competent

  jurisdiction; and

            (b)   To exercise any other right or remedy available to them under law or

  equity with respect to the Property.

            2.    The Property is hereby abandoned pursuant to 11 U.S.C. §554 and is no

  longer property of the estate. Creditor shall not be required to name the Trustee as a

  defendant in any action involving the Property or otherwise give the Trustee further

  notice.

            3.    The automatic stay is not modified to permit any act to collect any

  deficiency or other obligation as a personal liability of the Debtor, although the Debtor

  can be named as a defendant in litigation to obtain an in rem judgment if Debtor is

  granted a discharge, or to foreclose the Property in accordance with applicable non-

  bankruptcy law. Nothing contained herein shall preclude Creditor or and any and all

  holders of liens against the Property, from proceeding against the Debtor personally, to

  collect amounts due, if Debtor's discharge is denied or if Debtor's bankruptcy is

  dismissed.



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         4.      This Order shall continue in full force and effect if this case converted to a

  case under another chapter of the Bankruptcy Code.

         5.      This Order is effective and enforceable upon entry. The 14-day stay

  requirement of Fed.R.Bankr.P. 4001(a)(3) is waived.

         6.      Movant is further granted relief from the stay to engage in loan

  modification discussions or negotiations or other settlement discussions with the Debtor

  and to enter into a loan modification with the Debtor.

                                  ###END OF ORDER###

  RESPECTFULLY SUBMITTED BY:


  /s/ Jason Bousliman
  McCarthy & Holthus, LLP
  Jason Bousliman, Esq.
  Attorneys for Movant,
  6501 Eagle Rock NE, Suite A-3
  Albuquerque, NM 87113
  (505) 219-4900
  /s/ submitted electronically 11/16/2022
  jbousliman@mccarthyholthus.com




  COPIES TO:

  DEBTOR
  Paul Ralph Lucero
  10540 Borrego Creek
  Albuquerque, NM 87114


  DEBTOR(S) COUNSEL
  Mark Daniel John Regazzi
  mark@regazzilaw.com




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  CASE TRUSTEE
  Edward Alexander Mazel
  trustee@lawmazel.com

  US TRUSTEE
  PO Box 608
  Albuquerque, NM 87103-0608

  SPECIAL NOTICE(S)
  Atlas Acquisitions LLC
  492C Cedar Lane, Ste 442
  Teaneck, NJ 07666

  c/o Becket and Lee LLP
  Conn Appliances, Inc.
  PO Box 3002
  Malvern, PA 19355-0702

  Exeter Finance LLC
  Attn: AIS Portfolio Services, LP
  4515 N Santa Fe Ave. Dept. APS
  Oklahoma City, OK 73118


  SPECIAL NOTICE
  Allan L Wainwright
  abqlaw1313@outlook.com

  Atlas Acquisitions LLC
  bk@atlasacq.com

  Richard Anderson
  randerson@andersonvela.com

  Shay Elizabeth Meagle
  shay@businesslawsw.com




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